 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.1 Filed 10/09/14 Page 1 of 21




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
__________________________________________
                                           :
UNITED STATES SECURITIES                   :
AND EXCHANGE COMMISSION,                  :
                                          :
                  Plaintiff,              :
                                          :  CASE NO.
              v.                          :
                                          :
The Estate of VINCENT JAMES SAVIANO, :
And PALMETTO INVESTMENTS, LLC,            :
                                          :
                  Defendants,             :
_________________________________________ :

                                        COMPLAINT

       Plaintiff United States Securities and Exchange Commission (“SEC” or the

“Commission”) alleges as follows:

       1.      This case centers on a fraudulent scheme perpetrated by Vincent James

Saviano (“Saviano”) a/k/a Jim Saviano, now deceased, through his company Palmetto

Investments, LLC (“Palmetto”).

       2.      Starting no later than 2010, Saviano – acting through Palmetto – marketed a

trading program to investors called the Palmetto Investment Portfolio (the “PIP”). The PIP

was an investment pool that purportedly made money through “extreme day trading” of

stocks conducted by Saviano.

       3.      Although not registered with the SEC, Saviano and Palmetto acted as

investment advisers to the PIP and its investors; they were responsible for all investment

decisions and all trading activity on investors’ behalf and collected fees for their services to

the PIP and its investors.
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.2 Filed 10/09/14 Page 2 of 21




       4.     To prospective and existing investors, Saviano and Palmetto portrayed the

PIP as an astounding success. Saviano told prospective investors – both orally and in a

written prospectus – that the PIP had enjoyed historical returns of between 5.2% and

10.58% per month.

       5.     Once someone invested – thereby becoming a “member” of the PIP – they

received reports of uninterrupted gains; Saviano and Palmetto sent PIP investors monthly

and quarterly performance statements that (a) identified the profitable trades completed on

the PIP’s behalf, (b) reported consistent gains for each month and quarter, and (c) showed

corresponding gains in the investor’s account balance. They also reassured investors that the

PIP was receiving investment advice from an established investment adviser that was

registered with the SEC.

       6.     Based on these representations, Saviano was able to raise at least $1.96

million for the PIP from at least 100 investors.

       7.     In reality, the PIP was an unmitigated failure. Far from generating the

advertised, consistent monthly gains, Saviano’s trades routinely lost money. From 2011

through 2013, Saviano lost money for the PIP in all but 5 months. The five times that

Saviano made a monthly gain, the gains (a) fell far short of the gains Palmetto represented

to prospective and existing investors and (b) did nothing to stem the overall downward

trajectory of the PIP.

       8.     Saviano kept his massive trading losses hidden, routinely reporting to

investors that the PIP’s gains were continuing unabated.




                                               2
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.3 Filed 10/09/14 Page 3 of 21




       9.     In addition to suffering massive, undisclosed trading losses, Saviano admitted

to a select group of PIP investors that he had misappropriated an unidentified portion of

investor funds to feed his gambling habit.

       10.    In sum, while Saviano told investors that they were receiving extraordinary

gains and that their principal was intact, investors in the PIP lost almost everything. In total,

from January 2011 to September 30, 2014, Saviano invested approximately $947,728 in day

trades through Palmetto’s brokerage accounts. During that time, he lost at least $768,000 of

those funds, or 81.04% of the funds invested.

       11.    By making repeated material misrepresentations to prospective and existing

investors about the nature and performance of their investments, Saviano and Palmetto

committed securities fraud.

       12.    On October 6, 2014 – shortly after confessing to some of the PIP’s investors –

Mr. Saviano was found dead at his residence from an apparent suicide. The SEC, therefore,

has brought this action against Mr. Saviano’s estate and Palmetto to secure investor funds

that remain in the name of Mr. Saviano and Palmetto, to prevent further harm to investors

through the dissipation of assets, and to seek disgorgement stemming from Saviano’s and

Palmetto’s wrongdoing so that any funds that remain can be returned to investors who were

the victims of the fraud.

                              JURISDICTION AND VENUE

       13.    The SEC brings this action pursuant to Section 20(b) of the Securities Act of

1933 (“Securities Act”) [15 U.S.C. §77t(b)], Sections 21(d) and 21(e) of the Securities

Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. §§78u(d) and 78u(e)], and Section 209

of the Investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. § 80b-9].



                                                3
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.4 Filed 10/09/14 Page 4 of 21




       14.    This Court has jurisdiction over this action pursuant to Section 22 of the

Securities Act [15 U.S.C. § 77v], Section 27 of the Exchange Act [15 U.S.C. § 78aa], and

Section 214 of the Advisers Act [15 U.S.C. § 80b-14].

       15.    Venue is proper in this Court pursuant to Section 27 of the Exchange Act [15

U.S.C. § 78aa] and Section 214 of the Advisers Act [15 U.S.C. § 80b-14]. The acts, practices

and courses of business constituting the violations alleged herein have occurred within the

jurisdiction of the United States District Court for the Eastern District of Michigan and

elsewhere.

       16.    Saviano and Palmetto each resided and transacted business within the Eastern

District of Michigan.

       17.    Saviano and Palmetto directly and indirectly made use of the means and

instrumentalities of interstate commerce and of the mails in connection with the acts,

practices, and courses of business alleged herein.

                        DEFENDANTS AND RELATED PARTIES

       18.    Vincent James Saviano was a resident of Rochester Hills, Michigan. He was

the sole owner and officer of Palmetto Investments, LLC. Saviano – acting through his

investment advisory business, Palmetto – acted as the investment adviser and “portfolio

manager” to a pooled investment vehicle that Saviano called the “Palmetto Investment

Portfolio” (the “Portfolio” or “PIP”). On October 6, 2014 – after confessing his fraud to

several PIP investors – Mr. Saviano was found dead in his home from an apparent suicide.

       19.    The Estate of Vincent James Saviano is the successor in interest to Mr.

Saviano who is deceased. As of the date of this Complaint, the executor of Mr. Saviano’s

estate is unknown.



                                              4
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.5 Filed 10/09/14 Page 5 of 21




        20.   Palmetto Investments, LLC is a Michigan Limited Liability Company

formed in August 2008. Palmetto was the unregistered investment advisory vehicle through

which Saviano managed money on behalf of investors in the PIP.

                                           FACTS

                   BACKGROUND ON PALMETTO AND THE PIP

        21.   Vincent Saviano formed Palmetto in 2008. He was Palmetto’s sole member,

sole employee and sole officer. Palmetto was run out of Saviano’s home in Rochester Hills,

Michigan.

        22.   Acting through Palmetto, Saviano operated a trading program called the

Palmetto Investment Portfolio (the “Portfolio” or “PIP”).

        23.   The PIP was purportedly a “collective” investment pool which individuals

could join as “members.” Saviano claimed that he would use members’ principal to conduct

“extreme” day trading of stocks. The members were to split the resulting profits after paying

fees to Saviano and Palmetto.

        24.   The PIP is not a legal entity. Client investment proceeds are not invested in

any fund. Rather, Saviano directed client funds into two brokerage accounts in the name of

Palmetto that Saviano used to day trade.

        25.   Saviano claimed that the PIP was a resounding success. He claimed that over

seven years of running the PIP, his day trading generated monthly returns ranging from a

low of 5.2% to a high of 10.58%. He claimed that the PIP had never encountered a monthly

loss.

        26.   Although neither is registered as an investment adviser with the SEC, both

Saviano and Palmetto acted as investment advisers to the PIP and its investors. Saviano –



                                              5
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.6 Filed 10/09/14 Page 6 of 21




acting through Palmetto – made all investment decisions for the PIP and, in return,

investors were to pay Palmetto and Saviano fees, including a performance-based fee equal to

4-6% of any profits earned from Saviano’s trades.

       27.     Starting no later than 2010, Saviano, through Palmetto, started offering and

selling investment interests in the PIP to prospective investors.

       28.     The investment interests in the PIP are “securities” as that term is defined in

Securities Act Section 2(a)(1) and Exchange Act Section 3(a)(10).

       29.     Until Saviano’s death on October 6, 2014, Saviano and Palmetto raised at

least $1.96 million in investments in the PIP from over 100 investors. The investors live in at

least one foreign country (Australia) and at least 12 different states (including Michigan,

Georgia, California and Florida).

         THE FRAUDULENT MARKETING OF THE PALMETTO SCHEME

       30.     In marketing the PIP, Saviano provided prospective and then-current

investors with a written prospectus. Saviano created and distributed at least three different

versions of the prospectus to investors since he started marketing the PIP.

       31.     Each version of the PIP prospectus described the PIP as a pooled investment

vehicle that earned money through the day trading of the equity securities of small, medium

and large-cap publicly traded companies. Each version also details how clients who invest

in the PIP become “members” of a “collective,” and purportedly share equally in the profits

and losses of all trades.

       32.     The various PIP prospectuses further state that the PIP used proprietary

software, stock charts and economic analysis to determine when to purchase or sell a

particular stock.



                                               6
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.7 Filed 10/09/14 Page 7 of 21




       33.    According to the prospectus – in exchange for their services to the PIP –

Saviano and Palmetto would charge PIP members various fees, including a start-up fee of

$325, a monthly account administration fee of $25, and a quarterly performance fee ranging

from 4-6% of profits.

       34.    In marketing the PIP “opportunity,” Saviano – through Palmetto – also

communicated with prospective investors over the phone and met with them in person to

market the PIP investment opportunity.

Saviano and Palmetto Misrepresent the PIP’s Historical Returns.

       35.    The 2012 and 2013 versions of the PIP prospectus contained numerous

material misrepresentations regarding the PIP’s historical rate of return.

       36.    At the outset, the various versions of the PIP prospectus were inconsistent

with one another, reporting different historical performance for the same periods of time.

For example, the September 2012 PIP prospectus and two versions of the December 2013

PIP prospectus reported different returns for each quarter of 2011:

                                                 Reported Returns

                                    Sept. 2012       Dec 2013       Dec 2013
                                                     Version 1      Version 2
                 1st Qtr. 2011        8.38%           6.47%           8.31%

                 2nd Qtr. 2011        8.51%           7.43%           8.36%

                 3rd Qtr. 2011        8.61%           7.34%           8.61%

                 4th Qtr. 2011        7.63%           7.04%           7.96%



       37.    More importantly, the historical performance data in each version of the

prospectus was false. For example, rather than experiencing the impressive gains reported


                                                 7
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.8 Filed 10/09/14 Page 8 of 21




for each quarter of 2011 identified in ¶ 36 above, in reality the PIP experienced significant

losses in the first three quarters of 2011 and only a negligible gain in the fourth quarter of

2011. The PIP’s actual performance in 2011 was as follows:

                                    Period             Actual
                                                      Quarterly
                                                     Returns for
                                                       the PIP
                                 1st Qtr. 2011        - 45.33%

                                 2nd Qtr. 2011        -23.40%

                                 3rd Qtr. 2011        -20.70%

                                 4th Qtr. 2011           0.33%



       38.     The December 2013 versions of the PIP prospectus reported consistent

historical gains for every quarter and every month from 2011 through 2013. The represented

quarterly gains from 2011 through 2013 ranged from a low of a 5.52% gain for the first

quarter of 2013 to a high of an 8.61% gain in the third quarter of 2011. These identified

gains were false. For example, the purported quarterly gains for 2012 and 2013 represented

in the December 2013 prospectus far exceeded the actual performance for that period:

                        Period            Quarterly Gains         Actual
                                          Represented in         Quarterly
                                            Dec. 2013            Returns
                                            Prospectus

                         1st Qtr. 2012           6.38%             0.92%
                        2nd Qtr. 2012            7.41%            - 6.51%
                         3rd Qtr. 2012           7.34%           - 17.62%
                          th
                         4 Qtr. 2012             7.00%           - 14.47%
                         1st Qtr. 2013           5.52%            - 6.41%
                        2nd Qtr. 2013            6.73%           - 20.70%



                                                 8
 Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.9 Filed 10/09/14 Page 9 of 21




                       3rd Qtr. 2013         7.11%         - 9.57%
                        th
                       4 Qtr. 2013           6.08%         - 3.86%



       39.     The December 2013 PIP prospectus showed equally impressive monthly

returns for 2011 through 2013, ranging from an “absolute low” of a 5.2% gain in January

2012 to a high of a 8.09% gain in June 2012. Each version of the prospectus showed that the

PIP had never lost money in any month from 2011 to 2013. These identified monthly gains

were false. For example, the purported monthly gains for 2012 and 2013 represented in the

December 2013 prospectus for “Type A” investors far exceeded the actual performance for

that period:

                       Month            Monthly         Actual
                                         Gains          Returns
                                       Reported in
                                        Dec. 2013
                                       Prospectus
                       01/31/12          5.20%           - 2.68%
                       02/29/12          5.80%            1.95%
                       03/31/12          7.20%            2.05%
                       04/30/12          7.36%           - 2.24%
                       05/31/12          6.83%           - 7.46%
                       06/30/12          8.09%            0.35%
                       07/31/12          8.09%          - 11.56%
                       08/31/12          7.13%           - 5.25%
                       09/30/12          6.88%          - 14.64%
                       10/31/12          7.03%          - 16.10%
                       11/30/12          7.01%           - 2.33%
                       12/31/12          6.98%           - 6.41%
                       01/31/13          5.39%            1.89%
                       02/28/13          5.27%          - 12.16%
                       03/31/13          5.91%          - 12.28%
                       04/30/13          6.00%          - 15.63%
                       05/31/13          6.14%          - 39.05%


                                              9
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.10 Filed 10/09/14 Page 10 of 21




                        06/30/13         8.02%            - 37.37%
                        07/31/13         7.79%            - 44.85%
                        08/31/13         7.21%            - 42.04%
                        09/30/13         6.27%             - 7.03%
                        10/31/13         6.08%            - 19.48%
                        11/30/13         6.10%             - 3.55%
                        12/31/13         6.07%             - 6.83%


       40.    Saviano also misrepresented the PIP’s historical performance in oral

statements to prospective investors. While he was recruiting investors for the PIP, Saviano

told at least one investor that the PIP averaged a 5.5% monthly return.

       41.    The representations Saviano made to prospective PIP investors regarding the

PIP’s historical performance were false when made. In reality, in the 36 months from

January 2011 through December 2013, the PIP lost money in all but five months. In the five

months that the PIP made money, its profit was less than the “absolute lowest” 5.2%

monthly gain that Saviano advertised in the PIP prospectus.

       42.    In total, from January 2011 to September 30, 2014, Saviano invested

approximately $947,728 in day trades through Palmetto’s brokerage accounts. During that

time, he lost at least $768,000 of those funds, or 81.04% of the funds invested.

       43.    Saviano acted with scienter when he misrepresented the monthly and

quarterly returns in marketing the PIP to prospective investors. Saviano – acting through

Palmetto – was the only person who conducted day trading for the PIP and the only person

responsible for reporting performance to investors. He knew, or recklessly disregarded, that

his day trading had not generated the returns that he had represented to investors and knew

that – while he was touting the PIP as a very successful investment opportunity – the PIP

was consistently losing money.


                                              10
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.11 Filed 10/09/14 Page 11 of 21




       44.    Saviano’s and Palmetto’s misrepresentations regarding the historical

performance of the PIP were material. In making an investment decision, a reasonable

investor would consider it important that the PIP had not generated the stellar returns

represented by Saviano orally and in the PIP prospectus, but rather had lost money in the

overwhelming majority of months and had never earned a monthly gain equal to the

represented “absolute lowest” 5.2% monthly gain.

Saviano and Palmetto Tell Investors That the PIP is Managed by a Large, SEC-
Registered Investment Adviser.

       45.    The December 2013 prospectus that Saviano and Palmetto created and

distributed to prospective investors, falsely states that the PIP was “advised” by an

investment adviser that Saviano identified by name (referred to herein as “IA 1”). IA 1 is a

well-known investment advisory firm that is registered with the SEC as an investment

adviser. IA 1 is one of the largest providers of exchange traded funds (“ETFs”) in the United

States, managing over 140 ETFs with over $28 billion of assets under management.

       46.    In reality, IA 1 has never served as an investment adviser to any pooled

investment vehicle offered by Palmetto or Saviano, has no business relationship of any kind

with them, and has never provided any investment advice (or any other service) to the PIP.

       47.    Defendants Saviano and Palmetto acted with scienter. At the time that they

sent the PIP prospectus to investors, Saviano knew, or recklessly disregarded, that IA 1 had

no relationship to Palmetto and was not providing any investment advice to the PIP.

       48.    The misrepresentations in the prospectus identified in ¶ 45 were material. In

making an investment decision, a reasonable investor would consider it important that the

PIP was not receiving advice from a large SEC-registered investment adviser with over $28

billion under management in 2013, but rather was “advised” solely by Saviano – who was


                                              11
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.12 Filed 10/09/14 Page 12 of 21




not registered with the SEC in any capacity, and did not have more than $1 million under

management at any point in 2013.

                 Palmetto’s Fraudulent Periodic Performance Statements

       49.    After an investor purchased an interest in the PIP, that investor typically

received monthly and quarterly statements from Palmetto that reported the performance of

the customer’s investment.

       50.    On information and belief, Saviano created and distributed the periodic

performance statements that Palmetto sent to investors in the PIP. The statements came

directly to clients by email from Palmetto until September 2014, when Saviano set up a

Dropbox.com account to distribute the statements to investors.

       51.    The PIP’s monthly performance statements listed for the customer each of the

individual trades purportedly completed in the PIP for that month and showed the customer

(a) the gain or loss on each of those individual trades; (b) the total monthly return for that

customer; and (c) the customer’s total balance.

       52.    The PIP’s quarterly performance statements showed the investor’s current

balance, gains for that quarter, and Saviano’s purported performance-based fee.

       53.    The disclosures on Palmetto’s periodic performance statements were false in

three material respects.

       54.    First, the monthly account statements sent to PIP investors included fake

trading activity. To complete the illusion that the PIP was consistently making money,

Saviano and Palmetto made sure that the monthly performance statements listed individual

trades that were – almost exclusively – profitable. In most instances, the purportedly

profitable trades identified in the monthly performance statements were complete



                                               12
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.13 Filed 10/09/14 Page 13 of 21




fabrications; the identified trades simply never took place. In other instances, Saviano and

Palmetto used real trades but reported fake volume and price information to make the trades

look more profitable than they really were.

        55.   Second, the disclosed returns in the monthly and quarterly statements issued

by Palmetto from at least March 2013 through August 2014 were false. The client

statements disclosed consistent, uninterrupted monthly and quarterly gains for the PIP. For

example, the periodic performance statements issued by Palmetto showed uninterrupted

monthly and quarterly gains for the PIP for the period between March 2013 and August

2014.

        56.   In reality, from March 2013 through August 2014, the PIP made a monthly

profit only once – in January 2014 – and never experienced a quarterly gain.

        57.   Third, since at least June 30, 2014, the total account balance identified in each

monthly and quarterly statement issued to PIP investors also was false. In the monthly and

quarterly statements to investors, Saviano (through Palmetto) represented that customers’

account balances were increasing – in keeping with his story that the PIP had been enjoying

consistent gains from his day trading.

        58.   In reality, the balance in Palmetto’s accounts was actually decreasing and did

not contain enough funds to redeem investors’ principal (let alone the represented gains).

        59.   For example, as of June 30, 2014, the total amount in Palmetto’s trading and

bank accounts was insufficient to cover the monthly balance that just one client purportedly

had in the PIP. As of that date, the total balance in Palmetto’s bank and brokerage accounts

had dwindled to $246,171. Shortly thereafter, Saviano – through Palmetto – sent a

quarterly account statement to one PIP investor showing a June 30, 2014 account balance




                                              13
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.14 Filed 10/09/14 Page 14 of 21




for that investor of $913,404. That balance disclosure was fraudulent; Palmetto did not

have enough assets to redeem that investor.

       60.    In light of that asset deficiency, all account balance disclosures to PIP

investors as of June 30, 2014 were false.

       61.    Saviano and Palmetto acted with scienter. At the time that they sent the

monthly and quarterly account statements to investors, Saviano knew, or recklessly

disregarded, that the representations to investors in those account statements were false.

Saviano knew, or recklessly disregarded, that (a) the identified profitable trades were fake,

(b) the reported monthly and quarterly profits were false, and (c) the PIP had experienced

severe losses and did not have sufficient assets to cover the account balances that they were

reporting to their customers.

       62.    The misrepresentations in the customer account statements sent by Saviano

and Palmetto to their investors were material. In making an investment decision, a

reasonable investor would consider it important that their monthly and quarterly account

statements included (a) fake trading activity, (b) false performance data, and (c) inaccurate

account balance figures – all designed to mask extraordinary losses in the PIP.

   Saviano and Palmetto Take Fees From The PIP to Which They Were Not Entitled

       63.    As described in ¶¶ 55-56 above, Saviano and Palmetto reported grossly

inflated gains for the PIP for each quarterly period from at least March 2013 through August

2014. While they reported consistent gains during that period, in reality the PIP experienced

only one monthly gain (and no quarterly gain).




                                              14
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.15 Filed 10/09/14 Page 15 of 21




       64.     Between March 2013 and August 2014 -- although the PIP was actually

experiencing consistent losses -- Saviano and Palmetto charged the PIP a 4-6% quarterly

performance fee based on their false reports of quarterly gains.

       65.     Under the terms represented to investors, Saviano and Palmetto were not

entitled to those performance-based fees. The prospectus represented that Saviano and

Palmetto’s fees would be based on 4-6% of profits earned during a quarterly period. In

reality, those profits did not exist and Saviano and Palmetto were not entitled to the fees

that they took from the PIP.

       66.     Saviano and Palmetto acted with scienter. They knew, or recklessly

disregarded that the PIP had not earned the quarterly gains that they were representing to

investors and that, therefore, they were not entitled to the performance-based fees that they

were taking.

       67.     The misconduct described above in ¶¶ 63-66 above was material. In making

an investment decision, a reasonable investor in a pooled investment vehicle, like the PIP,

would consider it important that the pool’s investment advisers were charging performance-

based fees to which they were not entitled.

                               The Palmetto Scheme Collapses

       68.     Throughout 2014, Saviano’s day trading losses continued to mount. While he

kept telling investors that they were earning profits on their investment in the PIP, by the

end of September 2014, he had lost over 81% of the funds he managed for investors.

       69.     Starting on October 1, 2014, as the Palmetto Portfolio collapsed, Saviano

selectively notified certain investors that he had been lying to them. In those e-mails, he

admitted that – not only had the PIP actually lost money – he had misappropriated investor



                                              15
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.16 Filed 10/09/14 Page 16 of 21




funds to fuel his gambling habit. For example, on October 1, 2014, Saviano sent an e-mail

to an investor in the PIP stating:

       “I have committed a terrible crime to my family and friends and there are
       no excuses for my actions. I have a huge gambling problem and it got the
       better of me a few years ago.

       I ran thru our money and then started using other individuals (sic) money
       to support my habit and needs; after a time the lies and the reality became
       jumbled in to (sic) one way of life…”


       70.     On October 2, 2014, Saviano sent another e-mail to a group of four PIP

investors, stating that:

       “For many years I hid a terrible secret, one that now is causing so much
       pain and hurt I am having a hard time facing the truth. I have a gambling
       problem and it has caused my end. I ran thru our money some years ago
       and began using other's money thinking I could get it back, the lies and
       reality became one and then it just became a way of life…”

       71.     On information and belief, Saviano and Palmetto did not provide a general

notice to PIP investors that revealed the truth about what happened to their investment.

       72.     On October 6, 2014, Mr. Saviano was found dead at his Rochester Hills,

Michigan residence from an apparent suicide.

                                          COUNT I

                       Violations of Sections 17(a) of the Securities Act
       73.     Paragraphs 1 through 72 are realleged and incorporated by reference as

though fully set forth herein.

       74.     By engaging in the conduct described in ¶¶ 30 - 62 above, Saviano and

Palmetto, in the offer and sale of securities, by the use of the means and instruments of

transportation or communication in interstate commerce or by use of the mails, directly or

indirectly:



                                              16
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.17 Filed 10/09/14 Page 17 of 21




             a. intentionally or recklessly engaged in fraudulent devices, schemes,
                artifices, transactions, acts, practices and courses of business;
             b. obtained money or property by means of untrue statements of material
                fact or by omitting to state material facts necessary in order to make
                the statements made, in light of the circumstances under which they
                were made, not misleading; and
             c. engaged in transactions, practices, or courses of business that operated
                or would operate as a fraud or deceit upon the purchasers of such
                securities.
       75.      Saviano and Palmetto made the untrue statements and omissions of material

fact and engaged in the devices, schemes, artifices, transactions, acts, practices and courses

of business described above.

       76.      By reason of the foregoing, Defendants Saviano and Palmetto have violated

Sections 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

                                           COUNT II

                       Violations of Section 10(b) of the Exchange Act,
                                and Exchange Act Rule 10b-5
       77.      Paragraphs 1 through 72 are realleged and incorporated by reference.

       78.      As more fully described in ¶¶ 30 through 62, Saviano and Palmetto, in

connection with the purchase and sale of securities, by the use of the means and

instrumentalities of interstate commerce and by the use of the mails, directly and indirectly:

used and employed devices, schemes and artifices to defraud; made untrue statements of

material fact and omitted to state material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading; and

engaged in acts, practices and courses of business which operated or would have operated as

a fraud and deceit upon purchasers and prospective purchasers of securities.

       79.      Saviano and Palmetto knew, or recklessly disregarded, the facts and

circumstances described in paragraphs 30 through 62.


                                               17
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.18 Filed 10/09/14 Page 18 of 21




       80.       By reason of the foregoing, Saviano and Palmetto violated Section 10(b) of

the Exchange Act [15 U.S.C. §78j(b)] and Rule 10b-5 thereunder [17 C.F.R. 240.10b-5].

                                          COUNT III

                     Defendants’ Violations of Sections 206(1) and 206(2)
                           of the Investment Advisers Act of 1940

       81.       Paragraphs 1 through 72 are realleged and incorporated by reference.

       82.       During the relevant time period, Saviano and Palmetto acted as investment

advisers to the PIP and investors in the PIP within the meaning of Section 202(a)(11) of the

Advisers Act [15 U.S.C. § 80b-2(a)(11)].

       83.       As more fully described in ¶¶ 30 through 67 above, Saviano and Palmetto, by

use of the mails, and the means and instrumentalities of interstate commerce, directly or

indirectly, while acting as investment advisers, knowingly, willfully, or recklessly: (a)

employed devices, schemes, or artifices to defraud clients or prospective clients; and (b)

engaged in transactions, practices, and courses of business that operated as a fraud or deceit

upon clients or prospective clients.

       84.       Saviano and Palmetto acted with scienter.

       85.       By engaging in the conduct described above, Saviano and Palmetto, directly

or indirectly, violated Sections 206(1) and 206(2) of the Advisers Act [15 U.S.C. § 80b-6(1)

and 80b-6(2)].

                                         COUNT IV
                                  Violation of Advisers Act
                         Section 206(4) and Rule 206(4)-8 Thereunder

       86.       Paragraphs 1 through 72 are realleged and incorporated by reference.

       87.       At all times relevant to this Complaint, Saviano and Palmetto acted as

investment advisers to the PIP and investors in the PIP as defined under the Advisers Act.


                                               18
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.19 Filed 10/09/14 Page 19 of 21




Saviano and Palmetto managed the PIP and the funds of those who invested in the PIP in

exchange for compensation in the form of performance and administrative fees.

       88.       By engaging in the conduct described in ¶¶ 30 – 67 above, Saviano and

Palmetto, while acting as investment advisers, by use of the mails, and the means and

instrumentalities of interstate commerce, directly or indirectly: engaged in acts, practices or

courses of business which are fraudulent, deceptive, or manipulative. Saviano and Palmetto

made untrue statements of a material fact to investors and prospective investors in the

pooled investment vehicle known as the PIP, and engaged in acts, practices or courses of

business that were fraudulent, deceptive, or manipulative with respect to investors and

prospective investors in that pooled investment vehicle.

       89.       By reason of the foregoing, Saviano and Palmetto have violated Section

206(4) of the Advisers Act. [15 U.S.C. § 80b-6(4)] and Rule 206(4)-8 [17 C.F.R. 275.206(4)-

8] thereunder.

                                    RELIEF REQUESTED

       WHEREFORE, the Commission respectfully requests that this Court:

                                              I.

       Issue findings of fact and conclusions of law that Defendants committed the

violations charged and alleged herein.

                                              II.

       Enter an Order of Permanent Injunction restraining and enjoining Defendant

Palmetto, its successors, officers, agents, servants, employees, attorneys and those persons

in active concert or participation with Palmetto who receive actual notice of the Order, by

personal service or otherwise, and each of them from, directly or indirectly, engaging in the



                                               19
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.20 Filed 10/09/14 Page 20 of 21




transactions, acts, practices or courses of business described above, or in conduct of similar

purport and object, in violation of Section 17(a) of the Securities Act [15 U.S.C. §§ 77q(a)],

Section 10(b) of the Exchange Act [15 U.S.C. § 78j] and Rule 10b-5 [17 CFR § 240.10b-5]

thereunder and Sections 206(1), 206(2), and 206(4) of the Investment Advisers Act and Rule

206(4)-8 thereunder [15 U.S.C. § 80b-6(1), (2) and (4)] and Rule 206(4)-8 thereunder [17

C.F.R. § 275.206(4)-8].

                                               III.

       Issue an Order requiring Defendants to disgorge the ill-gotten gains received by

Saviano and Palmetto as a result of the violations alleged in this Complaint, including

prejudgment interest.


                                               IV.

       Retain jurisdiction of this action in accordance with the principles of equity and the

Federal Rules of Civil Procedure in order to implement and carry out the terms of all orders

and decrees that may be entered or to entertain any suitable application or motion for

additional relief within the jurisdiction of this Court.

                                                V.

       Grant such other relief as this Court deems appropriate.


                                     UNITED STATES SECURITIES
                                     AND EXCHANGE COMMISSION

                                     By: /s/ Amy S. Cotter ___ ______
                                     Timothy S. Leiman (IL No. 6270153)
                                     Alyssa A. Qualls (IL No. 6292124)
                                     Amy S. Cotter (IL No. 6238157)
                                     Ruta G. Dudenas (IL No. 6274848)

                                     Attorneys for Plaintiff


                                                20
Case 2:14-cv-13902-MOB-MKM ECF No. 1, PageID.21 Filed 10/09/14 Page 21 of 21




                             U.S. SECURITIES AND
                              EXCHANGE COMMISSION
                             175 West Jackson Blvd., Suite 900
                             Chicago, IL 60604
                             Telephone: (312) 353-7390

Dated: October 9, 2014




                                      21
